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3
                               UNITED STATES DISTRICT COURT
4
                           EASTERN DISTRICT OF CALIFORNIA
5

6
     UNITED STATES OF AMERICA,               No.    2:15-cr-00125-GEB
7
                      Plaintiff,
8
           v.                                TRIAL CONFIRMATION ORDER
9
     BENJAMIN MACIAS,
10
                      Defendant.
11

12
                 Trial     in     the   above-captioned    case,     scheduled     to
13
     commence at 9:00 a.m. on November 6, 2018, was confirmed at the
14
     hearing held on September 21, 2018.
15
                                   EVIDENTIARY DISPUTES
16
                 All evidentiary disputes capable of being resolved by
17
     in limine motions shall be filed no later than October 5, 2018.
18
     Oppositions to the motions or statements of non-opposition shall
19
     be filed no later than October 12, 2018.                Any reply shall be
20
     filed on or before October 19, 2018.
21
                 Any     reasonably     anticipated     dispute    concerning     the
22
     admissibility of evidence that is not briefed in an in limine
23
     motion shall be included in trial briefs.
24
                                    TRIAL PREPARATION
25
                 A.      No later than five court days before the trial
26
     commencement date, the following documents shall be filed:
27
                         (1)    proposed   jury    instructions    and   a   proposed
28
                                             1
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1    verdict form (and the Courtroom Deputy Clerk shall be emailed a

2    word version of the documents);

3                          (2)    proposed voir dire questions to be asked by

4    the Court;

5                          (3)    trial briefs;1 and

6                          (4)    a      document           containing       a     sufficient

7    explanation of the factual situation involved in the trial so

8    that we can ascertain whether a potential juror can be a fair and

9    impartial juror in this case.

10                  B.     The government’s exhibits shall be numbered with

11   stickers.       Should the defendant elect to introduce exhibits at

12   trial, such exhibits shall be designated by alphabetical letter

13   with stickers.         The parties may obtain exhibit stickers from the

14   Clerk’s Office.         The government shall file an exhibit list and a

15   witness list as soon as practicable.

16                  C.     The jury will be told that it is estimated that it

17   will take six (6) court days to present evidence to the jury and

18   to   complete       closing      arguments.       Each       party    has   fifteen    (15)

19   minutes    for      voir    dire,    which       may    be    used    after   the     judge

20   completes judicial voir dire (unless the judge decides to conduct
21   all voir dire).            Two (2) alternate jurors will be empaneled, if

22   feasible.

23                  The “struck jury” system will be used to select the

24   jury unless this case is reassigned and the reassigned judge

25   elects    to    use    another      system.        The       struck    jury   system     is

26   1 To ensure that the trial proceeds at a reasonable pace, the government is
     required to include in its trial brief a summary of points of law, including
27   reasonably anticipated disputes concerning admissibility of evidence, legal
     arguments, and citations of authority in support thereof. The defandant is
28   also encouraged to do this to the extent he opines he should.
                                                  2
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1    “designed to allow both the prosecution and the defense a maximum

2    number of peremptory challenges.            The venire . . . start[s] with

3    about   3[6]   potential     jurors,   from      which   the    defense    and    the

4    prosecution alternate[] with strikes until a petite panel of 12

5    jurors remain[s].”         Powers v Ohio, 499 U.S. 400, 404-05 (1991);

6    see also United States v. Esparza-Gonzalez, 422 F.3d 897, 899

7    (9th Cir. 2005) (discussing “the ‘struck jury’ system to select

8    jurors”).

9                The     Jury   Administrator      randomly     selects        potential

10   jurors and places their names on a list that will be provided to

11   each party in the numerical sequence in which they were randomly

12   selected.      Each potential juror will be placed in his or her

13   randomly-selected seat.        The first 12 randomly selected potential

14   jurors on the list will constitute the petit jury unless one or

15   more of those 12 is excused.               Assuming that the first listed

16   potential juror is excused, the thirteenth listed potential juror

17   becomes one of the twelve jurors that could be empaneled as the

18   petit jury.

19               The Courtroom Deputy Clerk gives each potential juror a

20   large   laminated     card   depicting     the    numerical      order    that    the
21   potential juror was randomly selected.

22               Following the voir dire questioning, each side take

23   turns   exercising     peremptory   challenges.          The    parties    will    be

24   given a sheet of paper (“strike sheet”) that will be used to

25   silently exercise peremptory challenges in the manner specified

26   on the strike sheet.          If a party elects to pass rather than
27   exercise a particular peremptory challenge, the word “pass” shall

28   be   placed    on   the    strike   sheet     for   that       waived    peremptory
                                            3
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1    challenge and that challenge is waived for the then-constituted

2    jury panel.       See generally, United States v. Yepiz, 685 F.3d 840,

3    845-46 (9th Cir. 2012) (indicating “‘use it or lose it’ voir dire

4    [waiver]    practice”      is   authorized       if   “the    composition      of    the

5    panel” does not change).

6                The     parties     requested    that     the    alternate      jurors    be

7    retained    after    the   jury    retires       to   deliberate,     and    that    the

8    alternate jurors would then no longer be required to appear in

9    court unless directed to appear by the Courtroom Deputy.

10               D.      If any party desires training on the court’s audio

11   visual     equipment    that      party     should     contact       Richard      Arendt

12   (rarendt@caed.uscourts.gov)           in     the      IT     Department      to     make

13   arrangements      for   training.          The    courtroom     is    available      for

14   training Monday through Thursday between 8:00 and 8:30 a.m.                           If

15   training is not needed and a party wants to test the equipment,

16   this can be done on the morning of trial between 8:00 and 8:30

17   a.m.

18               E.      Each party has fifteen (15) minutes to make an

19   opening statement.

20               F.      After closing jury instructions, the judge intends
21   to communicate the following with the Court Security Officer and

22   the jury:

23                    The Courtroom Deputy shall administer
                 the oath to the United States Court Security
24               Officer.
25                    Sir, the jury may take a break and/or
                 break for a meal, without consulting me; the
26               breaks are under your general supervision.
                 If the jury adjourns for lunch, a Court
27               Security Officer shall immediately tell the
                 Courtroom Deputy so that my staff, the
28               lawyers, the parties, and I can be relieved
                                      4
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1                from standby status while the jury adjourns
                 deliberations.
2
                      Should the jury adjourn later today,
3                jurors are permitted tomorrow to proceed
                 directly to the jury deliberation room, but
4                jurors are to wait until all jurors are
                 present before resuming deliberations because
5                all jurors must be present when the jury
                 deliberates. Jury deliberations shall occur,
6                as needed, until 4:30 p.m. when the jury
                 shall adjourn for the evening; and the jury
7                shall resume deliberations the next day
                 commencing at 9:00 a.m.
8
                      A Court Security Officer will maintain a
9                post outside the jury deliberation room to
                 protect the jury from outside influences or
10               visitors.   The Court Security Officer will
                 not communicate with a juror about the case
11               or    the   court    system   because    such
                 conversations could be misconstrued as a
12               communication that seeks to influence a
                 juror. What I just said does not apply to a
13               note that a juror and/or the jury gives to
                 the Court Security Officer, because a juror
14               and/or the jury is required to inform the
                 Court Security Officer that a note needs to
15               be given to the judge.

16                     Each juror may continue possessing his
                 or her cell phone or other communication
17               device, but that device shall be turned off
                 when the jury is engaged in deliberation.
18               The Court Security Officer shall escort the
                 jurors to the jury deliberation room.
19
                 G.   Further the Court intends to tell the alternate
20
     jurors what follows:
21
                      Under federal law, an alternate juror
22               can only go into the jury deliberation room
                 if the alternate juror replaces a juror.
23               Therefore, you may leave the courthouse now
                 and do what you normally do when you are not
24               on a jury.    However, you are still bound by
                 the   admonitions    I  gave   in   the   jury
25               instructions,    since  you   may   eventually
                 replace one of the deliberating jurors.     If
26               you are needed to replace a juror, the
                 Courtroom Deputy will tell you to appear in
27               this   courtroom.    If  an  alternate   juror
                 replaces a regular juror, the jury shall
28               begin jury deliberations anew. Provide the
                                          5
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1                Courtroom     Deputy    with     your   contact
                 information before you leave the courtroom.
2                If the trial is resolved, the Courtroom
                 Deputy   will    inform  you    that  you   are
3                discharged from further service on this case
                 and you are released from the admonitions,
4                including the directive that you not talk to
                 others about this case.      In the event I do
5                not see you again, thank you for your service
                 on this case.
6
                 Any objection to or proposed modification to either or
7
     both communications in sections F and G shall be filed no later
8
     than five (5) days after this order is filed.
9
                 Lastly,   the   parties   shall   endeavor   to   assemble   the
10
     exhibits before the jury retires for deliberation.
11
                 Dated:    September 25, 2018
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